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                                                1:18-cr-00309-LMM-LTW
                                                      USA v. Detling
                                               Honorable Leigh Martin May


                                 Minute Sheet for proceedings held In Open Court on 10/13/2021.


               TIME COURT COMMENCED: 10:01 A.M.
                                                                 COURT REPORTER: Montrell Vann
               TIME COURT CONCLUDED: 12:24 P.M.
                                                                 CSO/DUSM: 2 CSO
               TIME IN COURT: 2:23
                                                                 DEPUTY CLERK: Brittany Poley
               OFFICE LOCATION: Atlanta

         DEFENDANT(S):            [1] Chalmer Detling, II NOT Present at proceedings
         ATTORNEY(S)              Suzanne Hashimi representing Chalmer Detling
         PRESENT:                 Samir Kaushal representing USA
                                  Alex Sistla representing USA
                                  Caitlyn Wade representing Chalmer Detling
         PROCEEDING
                           Pretrial Conference
         CATEGORY:
         MOTIONS RULED ON:
                           DFT#1-[105] Motion in Limine to Exclude Bar Proceedings GRANTED IN
                           PART & DENIED IN PART
                           DFT#1-[110] Consolidated Motion in Limine GRANTED IN PART,
                           DENIED IN PART & DEFERRED IN PART
                           DFT#1-[113] Motion in Limine to Exclude Hearsay DEFERRED
                           DFT#1-[106] Motion in Limine to Exclude Prior Settlements DEFERRED
         MINUTE TEXT:      Jury Trial is for Thursday, October 21, 2021. The first day of trial will start at
                           9:30 a.m. Counsel shall report to Courtroom 2107 at 9:15 a.m. The CRD will
                           send notice when it is time to report to the 23rd floor ceremonial courtroom
                           for jury selection. Each subsequent day of trial will begin at 9:00 a.m. Counsel
                           should plan to arrive by 8:45 a.m.
                           The parties will confer as to whether the defendant shall wear a face mask or
                           face shield during the trial and notify the Court if there is disagreement.
                           The parties shall submit their jury instructions and proposed verdict form by
                           the end of the day Monday, October 18th on CM/ECF and in Word format
                           emailed to Ms. Poley.
                           The Government shall inform the Court whether they would prefer the Court
                           to charge the jury before or after closing arguments. Defense counsel
                           requested that the Court charge the jury prior to closing argument.
                           The Court requested the Government provide a notebook of exhibits with
                           tabs with the exhibit number to be delivered to chambers the morning of trial.
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                           The parties shall have 30 minutes each for opening statements. If the parties
                           plan on using any exhibits during opening statements, the parties must confer
                           with opposing counsel. Any objections to exhibits used in opening statements
                           must be raised prior to opening statements.
                           The Government’s final witness and exhibit lists shall be emailed to Ms.
                           Poley the day before trial. The Court encouraged the parties to admit
                           exhibits by stipulation whenpossible.
                           The Court will arrange a time the morning of trial to discuss the existence of
                           a plea agreement with the defendant.
                           The Government made an ORAL MOTION to dismiss Counts 1-3 and 8-10
                           of the Indictment. The Court GRANTED the motion as unopposed. The
                           parties shall confer on the Government's revised Indictment.
                           Regarding the parties' motions in limine relating to the defendant's bar
                           proceedings, the Court will allow the Government to talk about the fact that
                           there was a bar investigation/proceeding. The Court excluded testimony that
                           Mr. Detling voluntarily gave up his license unless the door is opened by
                           defense counsel. The Court ordered the Government to revise the Indictment
                           to remove language that the defendant is not licensed and to confer with
                           defense counsel as to other possible changes. The Court will not exclude the
                           defendant's testimony, statements, and stipulations made during the bar
                           proceedings based on the reasons raised during the conference.
                           The Court made the following rulings on the Government's [110] Consolidated
                           Motion in Limine: Motion 1 is DEFERRED; the Court has not excluded these
                           statements on the basis Defendant requested. Motion 2 is DENIED IN PART
                           AND DEFERRED; the Court will not prohibit all mentions of the medical
                           condition but will limit the testimony; defense counsel shall provide their list
                           of questions to the Government by the end of the day on Friday, October
                           15th. The parties shall notify the Court if there is disagreement. The Court
                           will not allow the introduction of the medical records. Motions 3 and 4 are
                           GRANTED unless the door is opened by Government's counsel, then the
                           Court will revisit. Motion 5 was agreed upon except as it related to penalties;
                           the Court will exclude penalty evidence. The Court confirmed that no further
                           rulings were needed on the remainder of the Government’s [110] motion.
                           The Court DEFERRED until trial ruling on the Government's [113] Motion in
                           Limine to Exclude Hearsay Testimony.
                           The Court DEFERRED until trial ruling on Defendant's [106] Motion in
                           Limine to Exclude Prior Settlements.
                           The Court will address the remaining motions at the pretrial conference set
                           for Tuesday, October 19th at 11:00 a.m.
                           The parties are instructed to contact Ms. Poley if additional pretrial issues
                           needing Court attention arise. The parties are directed to the transcript of the
                           pretrial conference for additional details and deadlines.

                              As for more details regarding the Court’s rulings on evidentiary issues,
                           the parties are directed to the transcript.



         HEARING STATUS:   Hearing not concluded. Court adjourned and will reconvene at 11:00 a.m. on
                           October 19, 2021.


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